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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

 

DONNA CURLING, ET AL.,
Plaintiffs,

y Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.

 

 

DECLARATION OF J. ALEX HALDERMAN
IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

J. ALEX HALDERMAN declares, under penalty of perjury, pursuant to 28
U.S.C. § 1746, that the following is true and correct:

1. My name is J. Alex Halderman. I am a Professor of Computer Science
and Engineering and the Director of the Center for Computer Security and Society
at the University of Michigan in Ann Arbor, Michigan. I submit this Declaration in
support of Plaintiffs’, Donna Curling, Donna Price, and Jeffrey Schoenberg (the
“Curling Plaintiffs”), motion for Preliminary Injunction. I have personal knowledge
of the facts in this declaration and, if called to testify as a witness, I would testify
under oath to these facts.

Ze I have a Ph.D., a Master’s Degree, and a Bachelor’s Degree in

Computer Science, all from Princeton University.

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3. My research focuses on computer security and privacy, with an
emphasis on problems that broadly impact society and public policy. Among my
areas of research are software security, network security, and election cybersecurity.

4. I have authored more than 85 articles and books. My work has been
cited in more than 8,000 scholarly publications. I have served on the program
committees for 31 research conferences and workshops, and I co-chaired the
USENIX Election Technology Workshop, which focuses on electronic voting
security. I received the John Gideon Award for Election Integrity from the Election
Verification Network, the Andrew Carnegie Fellowship, the Alfred P. Sloan
Foundation Research Fellowship, the IRTF Applied Networking Research Prize, and
the University of Michigan College of Engineering 1938 E Award for teaching and
scholarship.

5. I have published peer-reviewed research analyzing the security of
electronic voting systems used in numerous U.S. states as well as in other countries.
I have also investigated methods for improving the security of electronic voting,
such as efficient techniques for testing whether electronic vote totals match paper
vote records.

6. [have testified before the U.S. Senate Select Committee on

Intelligence and before the U.S. House Appropriations Subcommittee on Financial

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Service and General Government on the subject of cybersecurity and U.S.
elections.

7. [have performed extensive hands-on security testing of the AccuVote
TS and TSX electronic voting machines, which I understand are the two models of
electronic voting machines used in Georgia. I published a peer-reviewed security
evaluation of the AccuVote TS!, and I performed a source code review of the
AccuVote TSX as part of a study commissioned by the Secretary of State of
California.” These studies discovered dozens of serious security vulnerabilities in
the AccuVote hardware and software.

8. On August 7, 2018, I submitted a declaration in support of the Curling
Plaintiffs’ motion for a Preliminary Injunction.> All of the conclusions and
observations set forth in my initial submission remain true today; none of the events
that have occurred in the intervening months have caused me to alter those
conclusions.

9. Rather, new information has further confirmed the vulnerability of

Georgia’s election system, including proven risks posed by state actors as well as

 

' Ariel J. Feldman, J. Alex Halderman & Edward W. Felten, Security Analysis of
the Diebold AccuVote-TS Voting Machine, Princeton University (2006),
http://usenix.org/events/evt07/tech/full_papers/feldman/feldman.pdf.

2 Joseph A. Calandrino et al., Source Code Review of the Diebold Voting System,
University of California, Berkeley (2007),
http://votingsystems.cdn.sos.ca.gov/oversight/ttbr/diebold-source-public-jul29.pdf.
3 Dkt. No. 260-2.

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unexplained risks posed by unidentified actors. For example, in his March 2019
Report, Special Counsel Robert Mueller concluded principally that “(t]he Russian
government interfered in the 2016 presidential election in sweeping and systematic
fashion.”* The Special Counsel’s report further explained that foreign actors
“sought access to state and local computer networks by exploiting known software
vulnerabilities on websites of state and local governmental entities.” The Special
Counsel also found that these foreign agents were successful in attacking at least
one state and that their activities involved “more than two dozen states.”° As noted
prior to the Special Counsel’s final report, Georgia was targeted.’

10. In addition, Georgia experienced serious irregularities in its
Lieutenant Governor’s race where there were significant “undervotes.” This
suggests the potential for widespread malfunctions among the DREs, as well as

potential malfeasance.* Finally, in November 2018, former Georgia Secretary of

 

4 Robert S. Mueller, Report On The Investigation Into Russian Interference In The
2016 Presidential Election (Volume I of II), United States Department of Justice
(March 2019), p. 1, https://www.justice.gov/storage/report.pdf.

> Id. at 50.

° Id. at 50.

7 See United States v. Netyksho et al., No. 1:18-cr-00215-ABJ, Indictment {| 72,
Dkt. No. 1 (D.D.C. July 13, 2018).

8 Kim Zetter, Georgia voting irregularities raise more troubling questions about
the state’s elections, Politico (February 12, 2019),
https://www.politico.com/story/2019/02/12/georgia-voting-states-elections-
1162134.

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State Kemp publicly acknowledged that there had been another intrusion into the
State’s voter registration system, prompting the FBI to investigate.’

11. As I noted previously, the only practical way to safeguard Georgia’s
upcoming elections is to discontinue the use of Georgia’s DREs, require the use of
optical scan paper ballots throughout Georgia, and mandate auditing of the results
to ensure that the optical scanners are not attacked with malware to infect the
automated counting of the ballots.

12. In addition, it is my understanding that Georgia intends to use Ballot-
Marking Devices (BMDs) as a replacement for its DRE system. While I reserve
judgment for a more extensive review of the equipment Georgia eventually choses,
BMDs will not remedy the existing vulnerabilities inherent to DREs and would
continue to pose unacceptable risks to Georgia’s election security. BMDs are
touchscreen computers that create a computer-marked printout that is then tallied by
an optical scanner. These machines—BMDs and optical scanners—are similarly
susceptible to hacking and interference as Georgia’s current electronic system.

Programming errors or malicious attacks can cause BMDs to print selections

 

® Alan Judd, How Brian Kemp turned warning of election system vulnerability
against Democrats, Atlanta Journal Constitution (December 14, 2018),
https://www.ajc.com/news/state--regional-govt--politics/how-brian-kemp-turned-
waming-election-system-vulnerability-against-

democrats/iLOkpHK3ea3 9t8Eh4PCGxM/.

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different from the voter’s intent, and there is no evidence that voters would reliably
detect such errors in BMD printouts.

13. Furthermore, in typical BMD designs, the printouts from the BMD are
tallied by reading a bar code, not by reading human-verifiable notations of their
intended votes. As such, no voter would be able to verify that the bar code matches
their selections. Malicious code that infected the BMDs could change the selections
encoded in the bar code, and thereby change the vote recorded by the optical
scanners without being detected. The proposed BMD system is merely a different
electronic configuration posing the same inherent defects that Georgia’s current
system faces. Finally, as BMDs are a new and untested technology, there could be
many more vulnerabilities associated with these devices that further examination
and study would reveal.

I declare under penalty of the perjury laws of the State of Georgia and the United
States that the foregoing is true and correct and that this declaration was executed

this 27th day of May, 2019 in Ann Arbor, Michigan.

LE hn

A. ALEX HALDERMAN

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